            Case 7:17-cv-09729-KMK Document 1 Filed 12/12/17 Page 1 of 9


UNITED STATES DISTRICT COURT
SOURTHERN DISTRICT OF NEW YORK
------------------------------------------------------x

MANUEL URRUITA,                                                 Civ. Action No.:

                          Plaintiff,
                                                                COMPLAINT
        -against-
                                                                Jury Trial Demanded
PROCUT LAWNS, LANSCAPING
& CONTRACTING, INC. and
WILLIAM FOWLER,

                          Defendants.
------------------------------------------------------x

        Plaintiff Manuel Urruita ("Plaintiff'), by KANTROWITZ, GOLDHAMER &

GRAIFMAN, P.C., his attorneys, complaining of the Defendants Procut Lawns, Landscaping &

Contracting, Inc. and William Fowler, respectfully alleges as follows:

                                       NATURE OF THE ACTION

    1. Plaintiff alleges that he has been employed by Defendants, individually and/or jointly,

and pursuant to the Fair Labor Standards Act ("FLSA"), 29 U.S.C. §§ 216 (b), that he is: (i)

entitled to unpaid overtime wages from Defendants for working more than forty hours in a week

and not being paid an overtime rate of at least 1.5 times his regular rate for such hours over forty

in a week; (ii) entitled to maximum liquidated damages and attorneys' fees pursuant to the

FLSA, 29 U.S.C. §§ 201 et seq. including 29 U.S.C. § 216 (b).

    2. Plaintiff further complains pursuant to the NYLL, that he is: (i) entitled to unpaid wages

from Defendants for working more than forty hours in a week and not being paid an overtime

rate of at least 1.5 times his regular rate for such hours over forty in a week; and (ii) entitled to

liquidated damages and attorneys' fees, pursuant to the New York Minimum Wage Act




                                                          1
             Case 7:17-cv-09729-KMK Document 1 Filed 12/12/17 Page 2 of 9


("NYMWA"), NYLL §§ 650 et seq., and the regulations thereunder including 12 NYCRR § 142-

2,2.

       3. Plaintiff is entitled to recover his unpaid wages and unlawful wage deductions, under

Article 6 of the NYLL including §§ 171, 193, and compensation for not receiving notices and

statements required by NYLL § 195, under Article 6 of the NYLL and is also entitled to

maximum liquidated, and attorneys' fees pursuant to § 198 of the NYLL.

                                  JURISDICTION AND VENUE

       4. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1337 and

supplemental jurisdiction over Plaintiffs state law claims pursuant to 28 U.S.C. § 1367. In

addition, the Court has jurisdiction over Plaintiffs claim under the FLSA pursuant to 29 U.S.C.

§ 216 (b).

   5. Venue is proper in the Southern District of New York pursuant to 28 U.S.C. § 1391 (b)

and/or 29 U.S.C. § 216 (b).

   6. This Court is empowered to issue a declaratory judgment pursuant to 28 U.S.C. §§ 2201,

2202.

                                           THE PARTIES

   7. Plaintiff Manuel Urruita ("Urruita") is an adult, over eighteen years old, who currently

resides in Rockland County, New York.

   8. Upon information, and belief and all times relevant herein, Defendant Procut Lawns,

Landscaping & Contracting, Inc. ("Procut") was a New York for-profit corporation.

   9. Upon information and belief, and at all times relevant herein, the corporate Defendant

was owned/controlled/managed by Defendant William Fowler ("Fowler"), who was in charge of

the operations and management of Procut Lawns, Landscaping & Contracting, Inc.



                                                    2
           Case 7:17-cv-09729-KMK Document 1 Filed 12/12/17 Page 3 of 9


    10. Upon information and belief and at all times relevant herein, the corporate Defendant

Procut was owned/controlled/managed by Defendant Fowler, and was his alter ego, and it was

Defendant Fowler who controlled the employment of Plaintiff and was responsible for hiring,

firing, scheduling, controlling, managing, supervising, and record-keeping as to Plaintiffs

employment, among other employment functions.

    11. Upon information and belief, Defendants Procut and Fowler shared a place of business in

Rockland County, New York, 11 Pine View Road, West Nyack, New York 10994, where

Plaintiff was employed.

                                   STATEMENT OF FACTS

    12. Upon information and belief, and at all relevant times herein, Defendants were involved

in the landscaping business in New York tri-state area.

    13. Upon information and belief, and at all times relevant herein, Plaintiff was individually

and/or jointly employed by Defendants as a landscaper and performed all tasks involved in the

landscaping process and other duties related to Defendants' business operations.

    14. Plaintiff was employed by Defendants individually and/or jointly for approximately

twenty-three (23) years ending in or around October, 2017, when he was terminated.

    15. Plaintiffs last regular rate of pay was about $26. 00 per hour. At other at separate and

relevant times during his employment with Defendants, Plaintiff earned $21.00 per hour in 2012,

$22.00 per hour in 2013, $23.00 per hour in 2014, $24.00 per hour in 2015 and $25.00 per hour

in 2016.

   16. At all times relevant herein, Plaintiff worked 60 hours or more in most weeks during his

employment. Specifically, from mid-March through mid-December, hi average workday was

from 7:00 a.m. to 7:00 p.m. A more precise statement of the hours of wages will be made when



                                                   3
          Case 7:17-cv-09729-KMK Document 1 Filed 12/12/17 Page 4 of 9


Plaintiff obtains the wage and time records Defendantswere required to keep pursuant to the

FLSA and NYLL.

    17. At all times relevant herein, neither Defendant provided Plaintiff with the notice(s)

required by NYLL § 195(1).

    18. At all times relevant herein, neither Defendant provided Plaintiff with the statement(s)

required by NYLL § 195(3) - the statements provided to Plaintiff did not contain all the hours

worked by Plaintiff and did not state all wages earned by Plaintiff, among other deficiencies.

    19. At all times relevant herein and throughout Plaintiffs employment, Defendants,

individually and/or jointly paid Plaintiff the same rate for overtime hours (hours over 40 a week)

that they paid for non-overtime hours - Plaintiff was paid separately at his straight regular hourly

rate for his overtime hours prior to around October, 2017.

   20. Upon information and belief, at all times relevant herein, Defendants, individually and/or

jointly, had revenues and/or transacted business in an amount exceeding $500,000 annually.

   21. Upon information and belief, and at all times relevant herein, Defendants used and

purchased construction materials from vendors outside the State of New York and from a variety

of sources after traveling in interstate and/or foreign commerce.

   22. At all times applicable herein, Defendants conducted business with vendors and other

businesses outside the State of New York.

   23. At all times applicable herein, and upon information and belief, Defendant conducted

business outside the State of New York involving landscaping materials and services.

   24. Defendants, as a regular part of their business, make payment of taxes and other monies

to agencies and entities outside the State of New York.




                                                   4
           Case 7:17-cv-09729-KMK Document 1 Filed 12/12/17 Page 5 of 9


    25. Defendants, as a regular part of their business, engaged in credit card transactions

involving banks and other institutions outside the state of New York.

    26. At all times applicable herein, and upon information and belief, Defendants transacted

business with insurance companies, banks and similar lending institutions outside the State of

New York.

    27. At all times applicable herein, and upon information and belief, Defendants utilized the

instrumentalities of interstate commerce such as the United States mail, electronic mail and

telephone systems.

    28. At all relevant times herein, and for the time Plaintiff was employed by Defendants,

Plaintiff worked more than forty ( 40) hours in a week for each week, during his employment

with Defendants.

    29 .. At all times relevant herein, and for the time Plaintiff was employed by Defendants,

Defendants failed and willfully failed to pay Plaintiff an overtime rate of one and one half times

his regular rate of pay for all hours worked in excess of forty hours in a week for each week in

which such overtime was worked.

    30. Upon information and belief, and at all relevant times herein, Defendants failed to display

federal and state overtime wage posters.

    31. Upon information and belief, and at all relevant times herein, Defendants failed to notify

Plaintiff of his federal and state minimum wage and overtime rights and failed to inform Plaintiff

that he could seek enforcement of such rights through the government enforcement agencies.

                        AS AND FOR FIRST CAUSE OF ACTION
                   FAIR LABOR STANDARDS ACT-29 U.S.C. 201 et seq.

   32. Plaintiff alleges and incorporates by reference the allegations in paragraphs 1 through 31

above as if set forth fully and at length herein.

                                                    5
           Case 7:17-cv-09729-KMK Document 1 Filed 12/12/17 Page 6 of 9


    33. At all times relevant to this action, Plaintiff was employed by Defendants, individually

and/or jointly, within the meaning of the FLSA.

    34. At all times relevant to this action, Plaintiff engaged in commerce and/or in the

production of goods for commerce and/or Defendant, individually and/or jointly, constituted an

enterprise(s) engage in commerce within the meaning of29 U.S.C. §§ 207 (a).

    35. At all times relevant herein, Defendants, individually and/or jointly, transacted commerce

business in excess of$500,000.00 annually or had revenues in excess of $500,000.00 annually.

    36. At all times relevant herein, Defendants, individually and/or jointly, failed and willfully

failed to pay Plaintiff over time compensation at rates of at least 1.5 time his regular rate of pay

for each hour worked in excess of forty hours in a work week, in violation of 29 U.S.C. § 207.

                                          Relief Demanded

    37. Due to Defendants' FLSA violations, Plaintiff is entitled to recover from Defendants,

individually and/or jointly, his unpaid overtime wages, maximum liquidated damages, attorneys'

fees, and costs of the action, pursuant to 29 U.S.C. 216 § (b).

                       AS AND FOR A SECOND CAUSE OF ACTION
                        NYLL 650 et seq. and 12 NYCRR 142-2.2, etc.

   38. Plaintiff alleges, and incorporate by reference the allegations in paragraphs 1 through 37

above as if set forth fully and at length herein.

   39. At all times relevant to this action, Plaintiff was employed by Defendants, individually

and/or jointly, within the meaning of the New York Labor Law,§§ 2 and 651 and the regulations

thereunder including 12 NYCRR § 142.

   40. At all times relevant to this action, Plaintiff was individually and/or jointly employed by

Defendants within the meaning of the New York Labor Law,§§ 2 and 651 and the regulations

thereunder.

                                                    6
              Case 7:17-cv-09729-KMK Document 1 Filed 12/12/17 Page 7 of 9


       41. At all times relevant herein, Defendants, individually and/or jointly, failed and willfully

failed to pay Plaintiff overtime compensation at rates of at. least 1. 5 times his regular rate of pay

for each hour worked in excess of forty hours in a work week, in violation of the NYMWA and

its implementing regulations. NYLL §§ 650 et seq.; 12 NYCRR § 142-2.2.

                                            Relief Demanded

       42. Due to Defendants' NYLL violations, Plaintiff is entitled to recover from Defendants,

individually and/or jointly, his unpaid overtime wages, prejudgment interest, maximum

liquidated damages, reasonable attorneys' fees, and cost of the action, pursuant to NYLL § 663

(1).

                           AS AND FOR A THIRD CAUSE OF ACTION
                               NYLL § 190, 191, 193, 195 and 198

       4 3. Plaintiff alleges, and incorporates each and every allegation contained in paragraphs 1

through 43 above with the same force effect as if fully set forth at length herein.

       44. At all times relevant to this action, Plaintiff was employed by Defendants, individually

and/or jointly, within the meaning of the NYLL § 190 et seq., including§§ 191, 192, 195 and

198 and the applicable regulations thereunder.

       45. At all relevant times herein, Defendants, individually and/or jointly, violated and

willfully violated Plaintiffs rights under NYLL § 190 et seq. including NYLL §§ 191, 193, 195

and 198 by failing to pay Plaintiff all his wages, including his overtime wages, as required under

NYLL § 190 et seq.

       46. At all times relevant herein, Defendants, individually and/or jointly, failed and willfully

failed to provide Plaintiff with the notice(s) required by NYLL § 195 (1)-Plaintiff is therefore

entitled to and seeks to recover in this action the maximum recovery for this violation, plus




                                                       7
          Case 7:17-cv-09729-KMK Document 1 Filed 12/12/17 Page 8 of 9


attorneys' fees and costs pursuant to NYLL § 198 including NYLL § 198 (1-b ), as well as an

injunction directing Defendants to comply with NYLL § 196 (1 ).

   47. At all times relevant herein, Defendants, individually and/or jointly, failed and willfully

failed to provide Plaintiff with the statement(s) required by NYLL § 195 (3)-Plaintiffis

therefore entitled to and seeks to recover in this action the maximum recovery for this violation,

plus attorneys' fees and costs pursuant to NYLL § 198 including NYLL § 198 (1-d), as well as

an injunction directing Defendants to comply with NYLL § 195 (1).

                                         Relief Demanded

   48. Due to Defendants' NYLL Article 6 violations including violation of§§ 191, 193, 195

and 198, Plaintiff is entitled to recover from Defendants, individually and/or jointly, his entire

unpaid wages, including his unpaid overtime wages, wage deductions, plus maximum liquidated

damages, prejudgment interest, maximum recovery for violations ofNYLL § 195 (1) and NYLL

§ 195 (3), reasonable attorneys' fees, and costs of the action, pursuant to NYLL § 190 et seq.

including§ 198.

                                     PRAYER FOR RELIEF

   WHEREFORE, Plaintiff respectfully requests thatthis Court grant the following relief:

   49. Declare that Plaintiff was individually and/or jointly employed by Defendants and
                                                                                      '
declare Defendants (including their overtime policy and practice) to be in violation of the rights

of Plaintiff, under the FLSA and NYLL-12 NYCRR § 142, and Article 6 of the NYLL-NYLL

§ 190 et seq., and enjoin Defendants from engaging in such violations.

   50. As to the First Cause of Action, award Plaintiff his unpaid overtime wages due under

the FLSA, together with maximum liquidated damages, cost and attorneys' fees pursuant to 29

USC§ 216 (b);



                                                    8
          Case 7:17-cv-09729-KMK Document 1 Filed 12/12/17 Page 9 of 9


    51. As to the Second Cause of Action, award Plaintiff is unpaid overtime wages due under

the New York Minimum Wage Act and the Regulations thereunder including 12 NYCRR § 142-

2.2, together with maximum liquidated damages, prejudgment interest, costs and attorneys' fees

pursuant to NYLL § 663;

    52. As to the Third Cause of Action, award Plaintiff any and all outstanding wages,

including, unpaid overtime wages, plus maximum liquidated damages, wage deductions,

prejudgment interest, maximum recovery for violations ofNYLL § 195 (1) and NYLL § 195 (3),

and attorneys' fees pursuant to NYLL § 198;

   53. Award Plaintiff, any relief requested or stated in the preceding paragraphs but which has

not been requested in the WHEREFORE clause or "PRAYER FOR RELIEF," in addition to the

relief requested inthe wherefore clause/prayer for relief;

   54. Award Plaintiff such other, further and different relief as the Court deems just and proper.

Dated: Chestnut Ridge, New York
       December 11, 201 7

                                                       Respectfully submitted,


                                                       KANTROWITZ, GOLDHAMER
                                                       & GRAIFMAN, P.C.


                                                             Isl Randy J. Perlmutter
                                                       By: Randy J. Perlmutter, Esq. (3940475)
                                                       747 Chestnut Ridge Road, Suite 200
                                                       Chestnut Ridge, New York 10977
                                                       Tel: (845) 356-2570; Fax: (845) 356-4335
                                                       E-mail: rpedmutter@kgglaw.com
                                                       Attorneys for Plaintiff




                                                   9
